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 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF NEVADA
 9
     TAWNDRA L. HEATH, an individual,                        Case Number:
10                                                     2:17-cv-02869-GMN-BNW
                                 Plaintiff,
11                                               STIPULATION TO EXTEND TIME TO
            vs.                                 FILE A REPLY BRIEF TO PLAINTIFF’S
12                                                   MOTION FOR NEW TRIAL
     TRISTAR PRODUCTS, INC., a Pennsylvania
13 corporation; ZHONGSHAN JINGUANG
     HOUSEHOLD APPLIANCE
14 MANUFACTURE CO., LTD, a foreign
     corporation; DOE Individuals 1–10; and ROE
15 Corporations 11–20,

16                                   Defendant.

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            The Parties herein, through their respective counsel of record, submit this Stipulation to
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     Extend Time to File a Reply Brief to Plaintiff’s Motion for New Trial.
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            Plaintiff filed a Motion for New Trial on September 16, 2021. Defendant filed their
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     Response to Plaintiff’s Motion for New Trial on September 30, 2021. The current deadline for a
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     Reply Brief to be filed by Plaintiff is October 7, 2021.
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     ...
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     ...
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 1         The parties agreed to a one-week extension for Plaintiff to file a Reply Brief, thus making

 2 the new deadline October 14, 2021.

 3 Dated this 5th day of October 2021.                Dated this 5th day of October 2021.

 4 COGBURN LAW                                        SNELL & WILMER L.L.P.

 5
   By: /s/Joseph J. Troiano                           By: /s/Dawn L. Davis
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                                                          Products, Inc.& Zhongshan Jinguang
10                                                        Household Appliance Manufacture Co.,
                                                          LTD
11

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13                                                        IT IS SO ORDERED.

14                                                        Dated this ____
                                                                      5 day of October, 2021

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16                                                        ___________________________
                                                          Gloria M. Navarro, District Judge
17                                                        UNITED STATES DISTRICT COURT

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